                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                         5 :20-CR-505-lD

    UNITED STATES OF AMERICA

             v.
                                                        ORDER
    RAHNETHOMASCOOPER




       Upon the motion of Defendant, and for good cause shown, it is hereby ORDERED that

Docket Entry 116 with exhibits be sealed. It is further ordered that the Clerk provide a signed

copy of the Order to Defendant.


       IT IS SO ORDERED this the _l_Q_ of November 2021.




                                                     United States District Judge




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